     Case 2:22-cv-00223-Z Document 1-1 Filed 11/18/22      Page 1 of 4 PageID 114



                               TABLE OF EXHIBITS

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     Case 2:22-cv-00223-Z Document 1-1 Filed 11/18/22     Page 2 of 4 PageID 115



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     Case 2:22-cv-00223-Z Document 1-1 Filed 11/18/22      Page 3 of 4 PageID 116



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     Case 2:22-cv-00223-Z Document 1-1 Filed 11/18/22   Page 4 of 4 PageID 117



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